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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8

                                                       9                                    UNITED STATES BANKRUPTCY COURT

                                                      10                                                DISTRICT OF NEVADA

                                                      11   In re:
                                                                                                                                 Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                      12         INFINITY CAPITAL MANAGEMENT, INC.                               Chapter 7
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                                Debtor.
                        (702) 471-7432




                                                      14

                                                      15
                                                                     EX PARTE APPLICATION FOR ORDER SHORTENING TIME ON CREDITOR
                                                      16                HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                                      INTERNATIONAL SP’S MOTION TO ENFORCE COURT ORDERS AND TO
                                                      17                          COMPEL SURRENDER OF COLLATERAL
                                                      18              HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by

                                                      19   and through its undersigned counsel, respectfully submits this motion for an order shortening time

                                                      20   for hearing of HASelect’s Motion to Enforce Court Orders and to Compel Surrender of Collateral

                                                      21   [ECF No. 210] (the “Motion”).1 This motion for order shortening time is made and based upon

                                                      22   Section 105(a) of the Bankruptcy Code,2 Bankruptcy Rule 9006, Local Rule 9006, the following

                                                      23   points and authorities, the declaration of Bart K. Larsen, Esq. (the “Larsen Declaration”) included

                                                      24   herein, and the papers and pleadings on file herein, judicial notice of which is respectfully requested.

                                                      25
                                                           1
                                                               All capitalized terms not otherwise defined herein shall have those meanings ascribed to them in the Motion.
                                                      26
                                                           2
                                                             All references to “Chapter” and “Section” herein shall be to the “Bankruptcy Code” appearing in Title 11 of the U.S.
                                                      27   Code; all references to a “Bankruptcy Rule” shall be to the Federal Rules of Bankruptcy Procedure; and all references
                                                           to a “Local Rule” shall be to the Local Rules of Bankruptcy Practice of the U.S. District Court for the District of
                                                      28   Nevada.



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                                                       1                                    DECLARATION OF BART K. LARSEN

                                                       2             Bart K. Larsen, Esq. hereby states and declares as follows:

                                                       3             1.       I am over the age of 18, am mentally competent, and if called upon to testify as to the

                                                       4   matters set forth below, could and would do so.

                                                       5             2.       I am an attorney and am duly licensed to practice before this Court and am a partner

                                                       6   in the law firm of Shea Larsen PC, which is counsel of record for HASelect, a creditor of Debtor

                                                       7   Infinity Capital Management, Inc. in the above-captioned chapter 11 case.

                                                       8             3.       I have personal knowledge of the facts set forth herein except for matters stated upon

                                                       9   information and belief, which I believe to be true.

                                                      10             4.       As set forth in the Motion, HASelect seeks an order enforcing this Court’s prior

                                                      11   Orders requiring parties in possession of HASelect’s Collateral to turn the same over to HASelect.3
              1731 Village Center Circle, Suite 150




                                                      12             5.       Part of HASelect’s Collateral is currently being held by TPL Claim Management,
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




                                                      13   LLC (“TPL”) in the form of funds totaling $462,519.37 received by TPL from various third parties

                                                      14   in payment of accounts receivable included in HASelect’s Collateral and as to which Tecumseh

                                                      15   asserts no claim.

                                                      16             6.       Since early April 2022, HASelect has made demands on TPL to turn over the funds

                                                      17   in question, but Tecumseh has repeatedly objected to TPL releasing those funds to HASelect.

                                                      18   Despite HASelect’s attempts to resolve Tecumseh’s objections, Tecumseh continues to insist that

                                                      19   TPL cannot release the funds in question to HASelect without Tecumseh’s approval. As a result,

                                                      20   TPL is unwilling to release such funds.

                                                      21             7.       Because the amount in question is substantial, and because this Court has already

                                                      22   ordered HASelect’s Collateral, wherever located, be surrendered to HASelect, good cause exists for

                                                      23   the Court to set the Motion for hearing on an order shortening time.

                                                      24             8.       Tecumseh and Chapter 7 Trustee Robert Atkinson have both consented to the Motion

                                                      25   being heard on an order shortening time.

                                                      26             9.       Accordingly, HASelect respectfully requests that the Court enter an order shortening

                                                      27
                                                           3
                                                               See Abandonment Order [ECF No. 97] and Relief Order [ECF No. 106], ¶ 8.
                                                      28

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                                                       1   the time for hearing on the Motion.

                                                       2          I declare under penalty of perjury of the laws of the United States that these facts are true to

                                                       3   the best of my knowledge and belief.

                                                       4          Dated this 23rd day of May 2022.

                                                       5                                                         /s/ Bart K. Larsen, Esq.
                                                                                                                 BART K. LARSEN, ESQ.
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              1731 Village Center Circle, Suite 150




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                   Las Vegas, Nevada 89134
SHEA LARSEN

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                                                       1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                                       2          Section 105(a) of the Bankruptcy Code allows this Court to issue such orders as are necessary

                                                       3   to carry out the provisions of the Bankruptcy Code. See 11 U.S.C. § 105(a). Bankruptcy Rule

                                                       4   9006(c)(1) generally permits a bankruptcy court, for cause shown, and in its discretion, to reduce

                                                       5   the period during which any notice is given in accordance with the Bankruptcy Rules. See Fed. R.

                                                       6   Bankr. P. 9006(c)(1) (“Except as provided in paragraph (2) of this subdivision, when an act is

                                                       7   required or allowed to be done at or within a specified time by these rules or by a notice given

                                                       8   thereunder or by order of court, the court for cause shown may in its discretion with or without

                                                       9   motion or notice order the period reduced.”). Moreover, according to Local Rule 9006(b), every

                                                      10   motion for an order shortening time must be accompanied by an affidavit stating the reasons for an

                                                      11   expedited hearing. As set forth in the Larsen Declaration, there are compelling reasons for an
              1731 Village Center Circle, Suite 150




                                                      12   expedited hearing.
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




                                                      13          Furthermore, Local Rule 9006 requires the moving party to submit an Attorney Information

                                                      14   Sheet indicating whether opposing counsel was provided with notice, whether opposing counsel

                                                      15   consented to the hearing on an order shortening time, the date counsel was provided with notice, and

                                                      16   how notice was provided or attempted to be provided. An Attorney Information Sheet is being filed

                                                      17   concurrently with this Application.

                                                      18                                            CONCLUSION

                                                      19          Based on the foregoing, HASelect respectfully requests that the Court grant this application

                                                      20   and enter an order shortening time for the hearing on the Motion and granting such other and further

                                                      21   relief as the Court deems appropriate.

                                                      22          Dated this 23rd day of May 2022.
                                                                                                               SHEA LARSEN
                                                      23
                                                                                                               /s/ Bart K. Larsen, Esq.
                                                      24                                                       Bart K. Larsen, Esq.
                                                                                                               Nevada Bar No. 8538
                                                      25                                                       Kyle M. Wyant, Esq.
                                                                                                               Nevada Bar No. 14652
                                                      26
                                                                                                               Attorneys for HASelect-Medical Receivables
                                                      27                                                       Litigation Finance Fund International SP
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                                                                                             CERTIFICATE OF SERVICE
                                                       1
                                                                1.  On May 25, 2022, I served the following document(s): EX PARTE APPLICATION
                                                       2   FOR ORDER SHORTENING TIME ON CREDITOR HASELECT-MEDICAL
                                                           RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP’S MOTION TO
                                                       3   ENFORCE COURT ORDERS AND TO COMPEL SURRENDER OF COLLATERAL
                                                       4            2.    I served the above document(s) by the following means to the persons as listed
                                                           below:
                                                       5
                                                                          ☒      a.       ECF System:
                                                       6
                                                                    ROBERT E. ATKINSON
                                                       7            Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       8            CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                                    clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       9
                                                                    BRADFORD IRELAN on behalf of HEALTHPLUS IMAGINING OF TEXAS, LLC
                                                      10            birelan@imtexaslaw.com, jstephens@imtexaslaw.com; dhall@imtexaslaw.com;
                                                                    ynguyen@imtexaslaw.com
                                                      11
              1731 Village Center Circle, Suite 150




                                                                    DAVID MINCIN on behalf of HEALTHPLUS IMAGINING OF TEXAS, LLC
                                                      12            dmincin@mincinlaw.com, cburke@mincinlaw.com
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




                                                      13            MICHAEL D. NAPOLI on behalf of TECUMSEH - INFINITY MEDICAL
                                                                    RECEIVABLES FUND, LP
                                                      14            michael.napoli@akerman.com, cindy.ferguson@akerman.com;
                                                                    catherine.kretzschmar@akerman.com;masterdocketlit@akerman.com
                                                      15
                                                                    GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                      16            RECEIVABLES FUND, LP
                                                                    ggordon@gtg.legal, bknotices@gtg.legal
                                                      17
                                                                    TRENT L. RICHARDS on behalf of THE INJURY SPECIALISTS
                                                      18            trichards@sagebrushlawyers.com
                                                      19            ARIEL E. STERN on behalf of TECUMSEH - INFINITY MEDICAL RECEIVABLES
                                                                    FUND, LP
                                                      20            ariel.stern@akerman.com, akermanlas@akerman.com
                                                      21            U.S. TRUSTEE - LV - 7
                                                                    USTPRegion17.LV.ECF@usdoj.gov
                                                      22
                                                                    MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                      23            INC.
                                                                    mzirzow@lzlawnv.com, carey@lzlawnv.com; trish@lzlawnv.com; jennifer@lzlawnv.com;
                                                      24            zirzow.matthewc.r99681@notify.bestcase.com
                                                      25
                                                                          ☐      b.       United States mail, postage fully prepaid:
                                                      26
                                                                          ☐      c.       Personal Service:
                                                      27
                                                                          I personally delivered the document(s) to the persons at these addresses:
                                                      28

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                                                       1                               ☐       For a party represented by an attorney, delivery was made by
                                                                       handing the document(s) at the attorney’s office with a clerk or other person in
                                                       2               charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                       in the office.
                                                       3
                                                                                       ☐       For a party, delivery was made by handling the document(s)
                                                       4               to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                       place of abode with someone of suitable age and discretion residing there.
                                                       5
                                                                       ☐       d.       By direct email (as opposed to through the ECF System):
                                                       6
                                                                       Based upon the written agreement of the parties to accept service by email or a
                                                       7               court order, I caused the document(s) to be sent to the persons at the email
                                                                       addresses listed below. I did not receive, within a reasonable time after the
                                                       8               transmission, any electronic message or other indication that the transmission was
                                                                       unsuccessful.
                                                       9
                                                                       ☐       e.       By fax transmission:
                                                      10
                                                                       Based upon the written agreement of the parties to accept service by fax
                                                      11               transmission or a court order, I faxed the document(s) to the persons at the fax
              1731 Village Center Circle, Suite 150




                                                                       numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      12               of the record of the fax transmission is attached.
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




                                                      13               ☐       f.       By messenger:
                                                      14               I served the document(s) by placing them in an envelope or package addressed to
                                                                       the persons at the addresses listed below and providing them to a messenger for
                                                      15               service.
                                                      16        I declare under penalty of perjury that the foregoing is true and correct.
                                                      17        Dated: May 25, 2022.
                                                                                                        By: /s/ Bart K. Larsen, Esq,
                                                      18

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